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 1 Ariel A. Neuman - State Bar No. 241594
      aneuman@birdmarella.com
 2 Fanxi Wang - State Bar No. 287584
      fwang@birdmarella.com
 3 BIRD, MARELLA, BOXER, WOLPERT, NESSIM,
   DROOKS, LINCENBERG & RHOW, P.C.
 4 1875 Century Park East, 23rd Floor
   Los Angeles, California 90067-2561
 5 Telephone: (310) 201-2100
   Facsimile: (310) 201-2110
 6
   Attorneys for Plaintiffs Edward Park
 7 and Richard Buyalos
 8
                                UNITED STATES DISTRICT COURT
 9
                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11
   EDWARD PARK, an individual;                 CASE NO.
12 RICHARD BUYALOS, an individual,
                                               COMPLAINT FOR:
13                     Plaintiffs,
                                               1) VIOLATION OF SECURITIES
14               vs.                           EXCHANGE ACT OF 1934
                                               SECTION 15(b)
15 JASON WONG, an individual,
                                               2) BREACH OF FIDUCIARY DUTY
16                     Defendant.
                                               3) VIOLATION OF CAL. CORP.
17                                             CODE § 25501.5
18                                             4) VIOLATION OF CAL. BUS. &
                                               PROF. CODE § 17200
19
                                               5) UNJUST ENRICHMENT
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                                               JURY TRIAL DEMANDED
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 1               Plaintiffs Edward Park and Richard Buyalos (collectively, “Plaintiffs”) bring
 2 this action against Defendant Jason Wong, and allege as follows:
 3                                   NATURE OF THE ACTION
 4               1.    This dispute arises from Defendant’s sale of cryptocurrency tokens
 5 known as ERC-20 DAG Tokens to Plaintiffs while operating as an unregistered
 6 broker, in blatant violation of federal and state securities laws, and his subsequent
 7 failure to inform Plaintiffs of the “token swap” that occurred in April 2020. As a
 8 result of Defendant’s actions, Plaintiffs were denied the ability to exchange their
 9 ERC-20 DAG Tokens, which rendered their unswapped ERC-20 DAG Tokens
10 worthless and caused them more than one million dollars in investment losses.
11               2.    A DAG token is a cryptocurrency created by Constellation Labs, LLC
12 (“Constellation”). In January 2018, Defendant Jason Wong entered into a Simple
13 Agreement for Future Tokens (“SAFT”) with Constellation, and purchased an
14 allotment of ERC-20 DAG Tokens using 1100 Ethereum (“ETH”).1 Defendant then
15 resold the allotment to more than a dozen individuals, including Plaintiffs, via a
16 purported “crypto syndicate” known as “Orca Pod.” Defendant Wong had held
17 himself out as an expert and advisor on cryptocurrency investments to the
18 individuals interested in Orca Pod, and frequently dispensed advice on various
19 cryptocurrency investment opportunities in online chatrooms associated with Orca
20 Pod. Defendant Wong was the only person at Orca Pod who had direct contact with
21 Constellation, served as the sole conduit for all information about Constellation, and
22 represented that he would keep the group informed about material events concerning
23 Constellation.
24               3.    Based on Defendant Wong’s advice about Constellation and his
25 representations that he would keep the group apprised of material events relating to
26 Constellation, Plaintiffs Park and Buyalos each purchased 86 ETH worth of ERC-20
27
     1
28       Ethereum is a cryptocurrency.

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 1 DAG tokens. At the time Plaintiffs purchased their ERC-20 DAG Tokens, each
 2 ETH was worth approximately $1400. This purchased approximately 3.6 million
 3 ERC-20 DAG tokens for Plaintiffs.
 4               4.   Defendant took 5% of the tokens as a broker’s or advisor’s fee.
 5 However, on information and belief, Defendant was not at the time registered as a
 6 securities broker or investment advisor, as required by the applicable federal and
 7 state securities laws.
 8               5.   On or about April 29, 2020, Constellation conducted a token swap, the
 9 purpose of which was to allow investors to swap their ERC-20 DAG Tokens for
10 Constellation’s native cryptocurrency token (the “Mainnet DAG Tokens”). On
11 information and belief, Constellation informed all direct purchasers of ERC-20
12 DAG Tokens with whom it had agreements of the swap, and specifically informed
13 Defendant of the swap by email. However, Defendant did not notify Plaintiffs of
14 the token swap, and thus Plaintiffs did not know about the opportunity to exchange
15 their ERC-20 DAG tokens for Mainnet DAG Tokens.
16               6.   Plaintiffs did not discover that the token swap had occurred until
17 approximately the fall of 2021, when Plaintiff Park came across a reference to it
18 online. At its peak in or around August 2021, the Mainnet DAG Token, which
19 Plaintiffs were denied the opportunity to obtain, was worth approximately $0.46
20 each, meaning that had Plaintiffs been notified of the token swap, their 3.6 million
21 DAG tokens would have been worth more than $1.6 million at the time. Instead, as
22 discussed below, Plaintiffs have not had control over their ERC-20 DAG Tokens
23 since April 2020. Now, Plaintiffs’ 3.6 million unswapped ERC-20 DAG Tokens are
24 essentially worthless because they can no longer be swapped or traded.
25               7.   Plaintiffs bring this action against Defendant, seeking damages in the
26 amount of their investment losses.
27                                         THE PARTIES
28               8.   Plaintiff Edward Park is a resident of California.
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 1               9.    Plaintiff Richard Buyalos is a resident of California.
 2               10.   On information and belief, Defendant Jason Wong is a resident of San
 3 Francisco, California. Wong has been involved in the cryptocurrency community
 4 for many years, and holds himself out as an experienced broker and advisor on the
 5 cryptocurrency market and blockchains.
 6                                  JURISDICTION AND VENUE
 7               11.   This Court has personal jurisdiction over Defendant because Defendant
 8 is a resident of California, and regularly conducts business within California,
 9 including advising on and selling cryptocurrency tokens to residents of California.
10               12.   This Court has federal question subject matter jurisdiction pursuant to
11 28 U.S.C. § 1331, because Defendant’s conduct in selling securities without
12 registering as a broker violated Section 15(b) of the Securities Exchange Act of
13 1934 (15 U.S.C. § 78o(a)(1)), and Plaintiffs are entitled to remedies pursuant to
14 Section 29(b) of the same statute (15 U.S.C. § 78cc(b)).
15               13.   This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367
16 over Plaintiffs’ remaining causes of action, as the state law claims are so related to
17 the federal claims that they form part of the same case or controversy and derive
18 from a common nucleus of operative facts under Article III of the United States
19 Constitution.
20               14.   Venue is proper in this Court because a substantial part of the events
21 giving rise to the claims herein occurred in this district. Specifically, Defendant
22 sold the cryptocurrency tokens at issue to residents of this district, and his conduct
23 caused Plaintiffs injury in this district.
24                                   GENERAL ALLEGATIONS
25               15.   Defendant Jason Wong has been involved in the cryptocurrency
26 community for many years, including serving as advisors to several blockchain
27 companies, and had become involved an online group named Orca Pod for the
28 purpose of facilitating cryptocurrency investments for interested individuals.
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 1 Defendant consistently held himself out as an expert and advisor on cryptocurrency
 2 investments and blockchains, and frequently dispensed investment advice in online
 3 chatrooms and message groups associated with Orca Pod. Plaintiffs were
 4 introduced to Wong through Plaintiff Edward Park’s brother, David Park. Because
 5 of Defendant’s representations about his successful experience in past
 6 cryptocurrency deals and his access to contacts in the cryptocurrency world,
 7 members of Orca Pod respected Defendant and trusted his advice in making
 8 investment decisions.
 9               16.   In or around January 2018, Wong entered into the Simple Agreement
10 for Future Tokens (“SAFT”) with Constellation, pursuant to which Wong paid 1100
11 Ethereum (“ETH”) to purchase the right to units of Constellation’s cryptocurrency,
12 known as ERC-20 DAG Tokens.
13               17.   The SAFT contained the following provision:
14               The Purchaser has been advised that this instrument is a security and
                 that the offers and sales of this instrument have not been registered
15               under any country’s securities laws and, therefore, cannot be resold
                 except in compliance with the applicable country’s laws. The
16               Purchaser is purchasing this instrument for its own account for
                 investment, not as a nominee or agent, and not with a view to, or for
17               resale in connection with, the distribution thereof, and the Purchaser
                 has no present intention of selling, granting any participation in, or
18               otherwise distributing the same.
19               18.   Wong was therefore clearly aware that (1) the ERC-20 DAG Token
20 was a security within the definition of the applicable federal and state securities
21 laws; (2) he had represented to Constellation that he would not resell the tokens; and
22 (3) as an unlicensed broker, he could not resell the tokens without violating
23 securities laws. Despite this prohibition in the SAFT, Wong immediately resold his
24 allotment of 1100 Ethereum worth of ERC-20 DAG Tokens to more than a dozen
25 individuals in Orca Pod, including Plaintiffs.
26               19.   As Wong likely knows, the SEC takes an extremely dim view of
27 unscrupulous individuals who violate securities laws by dispensing investment
28 advice and/or selling securities without a license. Penalties can include
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 1 disgorgement of profits, civil fines, and disciplinary actions such as barring the
 2 offending individual from the securities industry. On information and belief, Wong
 3 continues to operate as an unregistered advisor and/or broker in cryptocurrency
 4 investments.
 5               20.   Wong was the only person involved in Orca Pod who had a relationship
 6 and direct contact with the Constellation team. As a result, he was the sole conduit
 7 of information about Constellation. Members of Orca Pod—including Plaintiffs—
 8 relied on the information and advice Wong provided about Constellation, and
 9 trusted that he would keep them apprised of material communications from
10 Constellation that could affect the value of the ERC-20 DAG Tokens.
11               21.   Plaintiffs Park and Buyalos were each allocated 86 ETH worth of ERC-
12 20 DAG Tokens. At the time Plaintiffs purchased their ERC-20 DAG Tokens, each
13 ETH was worth approximately $1400. This purchased approximately 3.6 million
14 ERC-20 DAG tokens for Plaintiffs.
15               22.   According to the spreadsheet circulated to Orca Pod, Wong kept 5% of
16 Plaintiffs’ tokens as a broker’s or advisor’s fee. On information and belief, Wong
17 was not registered as a securities broker or advisor at the time he sold his ERC-20
18 DAG Tokens to Plaintiffs.
19               23.   In 2018, initial coin offerings (“ICOs”) were often conducted on the
20 Ethereum blockchain using ERC-20 tokens. This was a way for a cryptocurrency
21 company to raise funds from investors—funds it would use to get its own
22 blockchain up and running. In this context, ERC-20 tokens issued during early
23 fundraising or ICOs were essentially “placeholders,” to be replaced by tokens on the
24 company’s native blockchain later. Once a company’s own blockchain went live, it
25 would conduct a “token swap,” in which investors could exchange their ERC-20
26 tokens for tokens on the company’s own blockchain. Token swaps were generally
27 well-publicized and had clear deadlines. If investors failed to swap their
28 “placeholder” ERC-20 tokens for the company’s new tokens by the set deadline,
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 1 those ERC-20 tokens usually became worthless, because they could no longer be
 2 traded. Thus, information about a company’s decision to conduct a token swap was
 3 not only material but critical, because any investors who missed their chance to
 4 swap their tokens would end up with worthless tokens.
 5               24.   Constellation conducted an ICO in this manner. On or about June 15,
 6 2018, after selling early allotments of ERC-20 DAG Tokens to investors including
 7 Wong, Constellation conducted an ICO of ERC-20 DAG Tokens on the Ethereum
 8 blockchain. At the time, on information and belief, Constellation sold 720 million
 9 ERC-20 DAG Tokens for a total of $33.7 million, which represented approximately
10 18% of the DAG Tokens available. When Constellation conducted its token swap
11 for exchanging the ERC-20 DAG Tokens to new tokens on its own native
12 blockchain (the “Mainnet Tokens”), on or about April 29, 2020, Constellation did
13 not widely publicize the token swap or the deadline. Instead, it only posted a three-
14 sentence update on its website that contained no detailed information.
15               25.   On information and belief, Constellation notified Defendant Wong of
16 the token swap pursuant to the SAFT, which listed Wong’s email address and
17 provided that “any notice required or permitted” by the SAFT would be sent to that
18 email address. Nevertheless, although Wong had kept Plaintiffs apprised of other
19 news concerning Constellation, Wong concealed and/or failed to notify Plaintiffs
20 that the token swap was taking place.
21               26.   As a result, Plaintiffs were not aware that the token swap was taking
22 place, and missed the deadline for exchanging their ERC-20 DAG Tokens for the
23 Mainnet DAG Tokens.
24               27.   At its peak in or around August 2021, the Mainnet DAG Token was
25 worth approximately $0.46, which means that had Plaintiffs been notified of the
26 token swap, their 3.6 million DAG tokens would have been worth more than $1.6
27 million at the time. Instead, Plaintiffs’ 3.6 million unswapped ERC-20 DAG
28 Tokens are now essentially worthless because they can no longer be swapped or
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 1 traded.
 2               28.     Plaintiffs did not discover that the token swap had occurred until
 3 Plaintiff Park happened upon a reference to it online in or around the fall of 2021.
 4 Upon this discovery, Plaintiffs entered into a series of tolling agreements with
 5 Defendant in an effort to resolve this matter informally, which tolled applicable
 6 statutes of limitations for approximately nine months (from March 1, 2023 to
 7 November 30, 2023). The parties were unable to resolve this dispute and Plaintiffs
 8 now bring this action against Defendant.
 9                                     FIRST CAUSE OF ACTION
10                     (Violation of Securities Exchange Act of 1934 Section 15(b))
11               29.     Plaintiffs re-allege and incorporate by reference the allegations in the
12 preceding paragraphs, as though fully set forth herein.
13               30.     Section 15(b) of the Securities Exchange Act (“the Act”) provides:
14               It shall be unlawful for any broker or dealer . . . to make use of the
                 mails or any means or instrumentality of interstate commerce to effect
15               any transactions in, or to induce or attempt to induce the purchase or
                 sale of, any security . . . unless such broker or dealer is registered in
16               accordance with subsection (b) of this section.
17 15 U.S.C. § 78o(a)(1) (emphasis added).
18               31.     Section 29(b) of the Act further provides:
19               Every contract made in violation of any provision of this chapter or of
                 any rule or regulation thereunder . . . shall be void as regards the rights
20               of any person who, in violation of any such provision, rule, or
                 regulation, shall have made or engaged in the performance of any such
21               contract[.]
22 15 U.S.C. § 78cc(b) (emphases added).
23               32.     Pursuant to the SAFT as well as guidance from the SEC, the ERC-20
24 DAG Tokens are securities regulated by the Act.
25               33.     Defendant Wong violated the Act by using means of interstate
26 commerce to effect and induce the sale of ERC-20 DAG Tokens to Plaintiffs
27 without being registered as a broker in accordance with the Act.
28               34.     Plaintiffs have been damaged by Defendant Wong’s conduct in an
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 1 amount to be proven at trial.
 2               35.   Plaintiffs have a private right of action under 15 U.S.C. § 78o(a)(1)
 3 and/or § 78cc(b).
 4                                 SECOND CAUSE OF ACTION
 5                                    (Breach of Fiduciary Duty)
 6               36.   Plaintiffs re-allege and incorporate by reference the allegations in the
 7 preceding paragraphs, as though fully set forth herein.
 8               37.   As Plaintiffs’ cryptocurrency broker and advisor, Defendant owed
 9 Plaintiffs fiduciary duties, including the duty of care and the duty to keep Plaintiffs
10 informed of material events affecting their investments.
11               38.   By failing to timely inform Plaintiffs that the Constellation token swap
12 was taking place in April 2020, Defendant breached the fiduciary duties owed to
13 Plaintiffs.
14               39.   As a result of Defendant’s breach, Plaintiffs have suffered significant
15 harm, as their 3.6 million unswapped ERC-20 DAG Tokens are now worthless.
16               40.   Defendant’s breach of his fiduciary duties was a substantial factor in
17 causing Plaintiffs’ harm, as Plaintiff would have timely exchanged their ERC-20
18 DAG Tokens for the Mainnet Tokens, had Defendant informed them of the token
19 swap.
20               41.   Plaintiffs have been damaged by Defendant Wong’s conduct in an
21 amount to be proven at trial.
22               42.   Defendant’s conduct was undertaken with malice, oppression and/or
23 fraud, warranting the imposition of punitive damages. As discussed above,
24 Defendant knew—including from the terms of the SAFT—that the ERC-20 DAG
25 Token was a security and that he was prohibited both by the terms of the SAFT and
26 by the applicable federal and state securities laws from reselling those tokens
27 without a license. Nevertheless, he engaged in the unlawful and unscrupulous
28 conduct of persuading Plaintiffs to buy those tokens, and then violating his fiduciary
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 1 duties to Plaintiffs by failing to disclose that Constellation was conducting a token
 2 swap. Accordingly, Plaintiffs seek punitive damages in an amount to be proven at
 3 trial, in order to deter Defendant from further unlawful conduct.
 4                                    THIRD CAUSE OF ACTION
 5                              (Violation of Cal. Corp. Code § 25501.5)
 6               43.    Plaintiffs re-allege and incorporate by reference the allegations in the
 7 preceding paragraphs, as though fully set forth herein.
 8               44.    California Corporate Securities Law, at Cal. Corp. Code Section
 9 25501.5(a)(1), provides in relevant part:
10               A person who purchases a security from or sells a security to a broker-
                 dealer that is required to be licensed and has not, at the time of the sale
11               or purchase, applied for and secured from the commissioner a
                 certificate . . . that is in effect at the time of the sale or purchase
12               authorizing that broker-dealer to act in that capacity, may bring an
                 action for rescission of the sale or purchase or, if the plaintiff or the
13               defendant no longer owns the security, for damages.
14               45.    California Code of Civil Procedure Section 1029.8 further provides
15 that:
16               Any unlicensed person who causes injury or damage to another person
                 as a result of providing goods or performing services for which a
17               license is required . . . shall be liable to the injured person for treble the
                 amount of damages assessed in a civil action in any court having
18               proper jurisdiction.
19 (Emphasis added).
20               46.    Defendant violated Cal. Corp. Code § 25501.5 by selling the ERC-20
21 DAG Tokens to Plaintiffs without a license.
22               47.    Plaintiffs have been damaged by Defendant Wong’s conduct in an
23 amount to be proven at trial, including treble damages pursuant to Cal. Civ. Proc.
24 Code § 1029.8.
25                                   FOURTH CAUSE OF ACTION
26       (Unfair Business Practices in Violation of Cal. Bus. & Prof. Code § 17200)
27               48.    Plaintiffs re-allege and incorporate by reference the allegations in the
28 preceding paragraphs, as though fully set forth herein.
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 1               49.   California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code
 2 § 17200, et seq., prohibits “any unlawful, unfair, or fraudulent business act or
 3 practice.”
 4               50.   By selling Plaintiffs ERC-20 DAG Tokens as an unlicensed broker, and
 5 by subsequently failing to inform Plaintiffs of the Constellation token swap,
 6 Defendant engaged in business practices that were both “unlawful” and “unfair”
 7 within the meaning of the UCL.
 8               51.   As a direct and proximate result of Defendant’s unlawful and unfair
 9 business practices, Plaintiffs have suffered significant economic harm.
10               52.   Plaintiffs seek restitution from Defendant in an amount to be proven at
11 trial.
12                                    FOURTH CAUSE OF ACTION
13                                         (Unjust Enrichment)
14               53.   Plaintiffs re-allege and incorporate by reference the allegations in the
15 preceding paragraphs, as though fully set forth herein.
16               54.   By unlawfully selling ERC-20 DAG Tokens to Plaintiffs, and receiving
17 and retaining payment from Plaintiffs in the form of 182 Ethereum coins, Defendant
18 has been unjustly enriched.
19               55.   Plaintiffs seek restitution from Defendant in an amount to be proven at
20 trial.
21                                      PRAYER FOR RELIEF
22               WHEREFORE, Plaintiffs pray for judgment against Defendant as follows:
23               1.    Compensatory damages;
24               2.    Treble damages pursuant to Cal. Civ. Proc. Code § 1029.8;
25               3.    Punitive damages;
26               4.    Restitution;
27               5.    Interest at the legal rate per annum;
28               6.    Attorneys’ fees and costs
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 1               7.    Such other and further relief as this Court deems just and proper.
 2
 3                                   DEMAND FOR JURY TRIAL
 4               Plaintiffs hereby demand a trial by jury on their claims.
 5
 6 DATED: January 26, 2024                     Ariel A. Neuman
                                               Fanxi Wang
 7
                                               Bird, Marella, Boxer, Wolpert, Nessim,
 8                                             Drooks, Lincenberg & Rhow, P.C.
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10
                                               By:         /s/ Ariel A. Neuman
11
                                                                 Ariel A. Neuman
12                                                   Attorneys for Plaintiffs Edward Park
13                                                   and Richard Buyalos

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